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UNITED STATES DISTRICT COURT USDC SDNY

SOUTHERN DISTRICT OF NEW YORK DOCUMENT

MARINA SHRON, on behalf of herself and ELECTRONICALLY FILED
similarly-situated others, DOC #:

DATE FILED: _ 10/14/2020

 

Plaintiff,

-against-
19 Civ. 6718 (AT)
LENDINGCLUB CORPORATION,
AMENDED ORDER

 

Defendant.
ANALISA TORRES, District Judge:

 

The Court’s September 29, 2020 Order, ECF No. 31, is AMENDED as follows: By
October 29, 2020, the parties shall email their settlement agreement to the Court for the purpose
of an in camera review, and file any motion to vacate on the docket.

SO ORDERED.

Dated: October 14, 2020

New York, New York j-

ANALISA TORRES
United States District Judge

 
